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                 APPENDIX A
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                    Proposed Redactions to Protect Confidential Microsoft Materials

Motion   Sealed
to Seal Document
                       Description               Requested Redaction                  Basis for Sealing
 Dkt.   Dkt. No.1
  No.

 605       597-1    Excerpts from the      Microsoft requests that the        Detailed figures reflecting
                    Expert Report of       following figures be redacted in   expert’s market share analyses,
                    Robin S. Lee on        their entirety:                    other calculations, or other
                    behalf of Plaintiffs        Pg. 184, Figure 45           disaggregated data specific to
                                                Pg. 199, Figure 47           Microsoft utilizing Microsoft's
                                                Pg. 200, Figure 48           internal, non-public proprietary
                                                Pg. 204, Figure 50           transactional data.
                                                Pg. 205, Figure 51
                                                Pg. 214, Figure 54
                                                Pg. D-3, Figure 90
                                                Pg. D-4, Figure 91
                                                Pg. D-5, Figure 92
                                                Pg. D-6, Figure 93
                                                Pg. D-7, Figure 94
                                                Pg. D-8, Figure 95
                                                Pg. D-9, Figure 96
                                                Pg. D-18, Figure 107
                                                Pg. E-2, Figure 110
                                                Pg. G-1, Figure 122
                                                Pg. G-2, Figure 123
                                                Pg. G-3, Figure 124
                                                Pg. G-4, Figure 125
                                                Pg. G-9, Figure 130
                                                Pg. G-10, Figure 131
 605       597-2    Excerpts from the Microsoft requests that the             Detailed figure reflecting
                    Expert Report of  following figure be redacted in its     expert’s analysis of Microsoft’s
                    Rosa M. Abrantes- entirety:                               take rate percentage utilizing
                    Metz on behalf of      Pg. 242, Figure 30                Microsoft's internal, non-public
                    Plaintiffs                                                proprietary transactional data.
 605       597-3    Excerpts from the      On Pg. 101: Microsoft requests     Report states confidential, non-
                    Expert Rebuttal        that the specific percentage of    public, and commercially

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         In many instances, the Parties have filed both (1) redacted versions of the documents or
       slipsheets noting a document was filed under seal and (2) sealed versions of the documents.
       Compare, e.g., Dkt. Nos. 581-1 and 597-1. For ease of review by the Court, the docket numbers
       included in this appendix refer to the sealed versions. Microsoft’s requested redactions apply
       equally to both versions of such documents.
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                       Description             Requested Redaction                     Basis for Sealing
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                    Report of Robin S. MSAN revenue attributable to   sensitive internal data on the
                    Lee on behalf of   Microsoft’ owned and operated  distribution of Microsoft’s
                    Plaintiffs         properties be redacted: “…MSAN revenue.
                                       data, over [redacted] % of
                                       spending…”
                                         Microsoft requests that the           Detailed figures reflecting
                                         following figures be redacted in      expert’s market share analyses
                                         their entirety:                       utilizing Microsoft's internal,
                                              Pg. B-7, Figure 69              non-public proprietary data.
                                              Pg. B-8, Figure 70
                                              Pg. B-9, Figure 71
                                              Pg. B-10, Figure 72
 605      597-5     Excerpts from the    Microsoft requests that the           Detailed figures reflecting
                    Expert Report of     following figures be redacted in      expert’s calculations of
                    Timothy Simcoe       their entirety.                       Microsoft’s “take rates,” average
                    on behalf of              Pg. 33, Figure 4                cost per mille (CPM), and other
                    Plaintiffs                Pg. 40, Figure 7                metrics utilizing Microsoft's
                                              Pg. 41, Figure 8                internal, non-public, proprietary
                                                                               transactional data.
 605      597-7     Excerpts from the    For Tr. 282:5-283:22, Microsoft       Transcript states confidential,
                    transcript of the    requests that the specific            non-public, and commercially
                    deposition of        percentage of revenue coming          sensitive internal data on the
                    Robin Lee, expert    from EMEA sale-side distribution      geographic distribution of
                    witness on behalf    be redacted as follows:               Microsoft’s revenue.
                    of the Plaintiffs    “… it says at the top of that page,
                                         ‘[redacted] percent of Xandr’s
                                         current sale-side revenue comes
                                         from the EMEA.’”
                                          “Q. So it says ‘[redacted] percent
                                         of Xandr’s current sell-side
                                         revenue comes from EMEA…”
 605      597-8     Excerpts from        Microsoft requests that the           Information reflects confidential,
                    Microsoft 30(b)(6)   following transcript ranges be        non-public, and commercially
                    deposition           redacted:                             sensitive information on
                                              Tr. 286:6-287:16                Microsoft's business strategies
                                              Tr. 304:24-305:15               and market assessments.

                                         Please see Exhibit A to the Decl.
                                         of Eileen Cole, which provides


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 Dkt.   Dkt. No.1
  No.

                                          this document with proposed
                                          redactions applied.
 605      598-4     Excerpts from         Microsoft requests redactions to    Information reflects confidential,
                    Exhibit 14 to         the pages stamped with Bates        non-public, and commercially
                    Microsoft 30(b)(6)    Nos. ATT-GCID-00111240 to           sensitive internal data on Xandr's
                    deposition            ATT-GCID-00111244.                  actual and projected revenues,
                                                                              assessments of market
                                          Please see Exhibit B to the Decl.   performance, and the geographic
                                          of Eileen Cole, which provides      distribution of Xandr's revenue.
                                          this document with proposed
                                          redactions applied.
 605      603-2     Excerpts from a       Microsoft requests redactions to    Information reflects confidential,
                    presentation titled   exhibit pages 1 and 3.              non-public, and commercially
                    “Future of                                                sensitive internal data on Xandr's
                    Advertising,”         Please see Exhibit C to the Decl.   actual and projected revenues,
                    dated July 2020,      of Eileen Cole, which provides      and assessments of market
                    bearing Bates No.     this document with proposed         performance, and the geographic
                    MSFT-LIT-             redactions applied.                 distribution of Xandr's revenue.
                    0000000137                                                Excerpt also discloses non-public
                                                                              contact information for a
                                                                              Microsoft employee.
 605      603-4     Excerpts from a       Microsoft requests redactions to    Information reflects confidential,
                    presentation titled   the pages stamped with Bates        non-public, and commercially
                    “SSP Business         Nos. ATT-GCID-00111240 to           sensitive internal data on Xandr's
                    Investment Case,”     ATT-GCID-00111244.                  actual and projected revenues,
                    dated November                                            assessments of market
                    2019.                 Please see Exhibit D to the Decl.   performance, and the geographic
                                          of Eileen Cole, which provides      distribution of Xandr's revenue.
                                          this document with proposed
                                          redactions applied.
 651      650-9     Excerpts from         Microsoft requests that the         Information reflects confidential,
                    Microsoft 30(b)(6)    following transcript ranges be      non-public, and commercially
                    deposition            redacted:                           sensitive information on
                                               Tr. 278:2-280:22              Microsoft's business strategies
                                               Tr. 286:6-287:16              and market assessments.

                                          Please see Exhibit E to the Decl.
                                          of Eileen Cole, which provides
                                          this document with proposed
                                          redactions applied.

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 605      574       Google LLC’s           Pg. 5, n. 3: Microsoft requests that   Information reflects confidential,
                    Memorandum of          the specific market share              non-public, and commercially
                    Law in Support of      projections be redacted:               sensitive internal market share
                    Its Motion to          “Microsoft document showing            projections based on internal,
                    Exclude the            Facebook with [redacted] % of          non-public proprietary data.
                    Testimony of Prof.     total 2020 U.S. display ad revenue
                    Robin S. Lee:          and Google with [redacted] % in
                                           2020”
                                           Pgs. 22-23 (quote from Ex. 89):        Information reflects confidential,
                                           Microsoft requests that the            non-public, and commercially
                                           specific market share projections      sensitive internal data on the
                                           be redacted:                           geographic distribution of
                                           “[redacted] % of Xandr’s current       Xandr's revenue.
                                           sell side revenue comes from
                                           EMEA…”
 667      670-7     Excerpts from the      Microsoft requests the following       Detailed figures reflecting
                    Expert Report of       figures be redacted in their           expert’s market share analyses,
                    Robin S. Lee on        entirety.                              other calculations, or other
                    behalf of Plaintiffs        Pg. 199, Figure 47               disaggregated data specific to
                                                Pg. 200, Figure 48               Microsoft utilizing Microsoft's
                                                Pg. E-2, Figure 110              internal, non-public proprietary
                                                                                  transactional data.
 667     673-16     Excerpts from the Microsoft requests the following            Detailed figures reflecting
                    Expert Rebuttal    figures be redacted in their               expert’s market share analyses,
                    Report of Robin S. entirety.                                  other calculations, or other
                    Lee on behalf of        Pg. 162, Figure 29                   disaggregated data specific to
                    Plaintiffs              Pg. 163, Figure 30                   Microsoft utilizing Microsoft's
                                                                                  internal, non-public proprietary
                                                                                  transactional data.
 661      663-1     Excerpts from the      Para. 138, n. 178: Microsoft           Report states confidential, non-
                    Expert Report of       requests that the specific fee         public, and commercially
                    Robin S. Lee on        amount charged by Microsoft be         sensitive internal data on
                    behalf of Plaintiffs   redacted:                              Microsoft’s fee structure.
                                            “Xandr also charges a [redacted]
                                           CPM ad serving fee… [redacted]
                                           is out [sic] rate card ad serving
                                           fee… Xandr charges an
                                           ‘AdServing fee’ of “[redacted]
                                           CPM”


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                                        Para. 139, n. 184 (quote from        Report states confidential, non-
                                        ATT-GCID-00000190):                  public, and commercially
                                                                             sensitive internal data on
                                        Microsoft requests that the last     Microsoft’s fee structure.
                                        two sentences in the parenthetical
                                        be redacted in full (following the
                                        sentence ending “Private
                                        Marketplaces (PMPs)”).
                                        Para. 139: Microsoft requests that   Report states confidential, non-
                                        the specific take rate fee           public, and commercially
                                        percentage charged by Microsoft      sensitive internal data on
                                        be redacted: “…charges a take        Microsoft’s fee structure.
                                        rate fee of [redacted] % for Open
                                        Auction…”
                                        Microsoft requests that the          Detailed figures reflecting
                                        following figures be redacted in     expert’s market share analyses,
                                        their entirety:                      other calculations, or other
                                             Pg. 184, Figure 45             disaggregated data specific to
                                             Pg. 199, Figure 47             Microsoft utilizing Microsoft's
                                             Pg. 200, Figure 48             internal, non-public proprietary
                                             Pg. 203, Figure 49             transactional data.
                                             Pg. 204, Figure 50
                                             Pg. 205, Figure 51
                                             Pg. 214, Figure 54
                                             Pg. C-7, Figure 85
                                             Pg. D-19, Figure 107
                                             Pg. D-20, Figure 108
 661      663-7     Excerpts from the Microsoft requests the following       Detailed figure reflecting
                    Expert             figure be redacted in its entirety:   expert’s analysis utilizing
                    Supplemental            Appx. B, pg. B-1, Figure 6      Microsoft’s internal, non-public,
                    Report of Robin S.                                       proprietary transactional data on
                    Lee on behalf of                                         impressions sold in the U.S.
                    Plaintiffs
 642      644-1     Excerpts from the   Microsoft requests that the          Detailed figures reflecting
                    Expert Report of    following figures be redacted in     expert’s analyses of “take rates,”
                    Timothy Simcoe      their entirety:                      average CPM, and other
                    on behalf of             Pg. 33, Figure 4               calculations utilizing Microsoft's
                    Plaintiffs               Pg. 35, Figure 5               internal, non-public, proprietary
                                             Pg. 40, Figure 7               transactional data.

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Motion   Sealed
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                       Description                Requested Redaction                    Basis for Sealing
 Dkt.   Dkt. No.1
  No.

                                                  Pg. 41, Figure 8

 642      644-4     Excerpts from the      Microsoft requests these figures      Detailed figures reflecting
                    Expert Report of       be redacted in their entirety.        expert’s market share analyses or
                    Robin S. Lee on             Pg. 199, Figure 47              other calculations utilizing
                    behalf of Plaintiffs        Pg. E-2, Figure 110             Microsoft's internal, non-public,
                                                                                 proprietary transactional data.
 642      644-6     Excerpts from the      Microsoft requests that the           Detailed figure reflecting
                    Expert Rebuttal        following figure be redacted in its   expert’s analysis of Microsoft’s
                    Report of Robin S.     entirety:                             fees and market shares utilizing
                    Lee on behalf of       Pg. 162, Figure 29                    Microsoft's internal, non-public,
                    Plaintiffs                                                   proprietary transactional data.
 642     644-13     Excerpts from the      Microsoft requests that the           Detailed figure reflecting
                    Expert Report of       following figure be redacted in its   expert’s analysis of Microsoft’s
                    Judith A.              entirety:                             revenue share percentage
                    Chevalier on                 Figure 11                      utilizing Microsoft's internal,
                    behalf of Google                                             non-public, proprietary
                                                                                 transactional data.
 605      599-6     Excerpts from the      Microsoft requests that the           Detailed figure reflecting
                    Expert Report of       following figure be redacted in its   expert’s analysis of average
                    Judith A.              entirety:                             revenue share percentages
                    Chevalier on                 Pg. 46, Figure 10              utilizing Microsoft's internal,
                    behalf of Google                                             non-public proprietary data.
 712      709-5     Excerpts from the Microsoft requests that the                Detailed figure reflecting
                    Expert Rebuttal    following figure be redacted in its       expert’s analysis of Microsoft’s
                    Report of Robin S. entirety:                                 bidding tool fees utilizing
                    Lee on behalf of        Figure 31                           Microsoft's internal, non-public,
                    Plaintiffs                                                   proprietary transactional data.




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